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|nspection of E|ectronic Devices

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Why_You May Be Chosen for an lnspection

You may be subject to an inspection l"or a variety of`reasons, some ol`whieh include: your
travel documents are incomplete or you do not have the proper documents or visa; you have
previously violated one of thc laws CBP enforces; you have a name that matches a person
ot`interest in one of the governments enforcement databases; or you have been selected for
a random search.

ll`you are subject to inspection. you should expect to be treated in a courteous. dignitied,
and professional manner. Beeause the border is a law enforcement environment, CBP
ot`t`icers may not be able to answer ;!ll of your questions about an examination that is

` underway¢ lt`you have concerns you can always ask to speak with a CBP supervisor.

Author`iiy to search

All persons, baggage, and merchandise arriving in, or departing t`rom, the United Statcs arc
subject to inspection search and detention This is because CBP officers must determine
the identity and citizenship ol` all persons seeking entry into the United States, determine
the admissibility of foreign natic rtals., and deter the entry ol` possible terroristsn terrorist
weapons controlled substances end a wide variety of other prohibited and restricted items
Various laws that CBl’ is charged to enforce authorize such searches and detention (see, for
example 8 U,S.C. § l357 and 19 U.S.C. §§ 1499. 1581. 1582).

What Happens Now? '

You’re receiving this sheet because your electronic deviee(s) has been detained l`or l`urther
examination which may include copying You will receive a written receipt (Form 6051-D)
that details what item(s) are being detained, who at CBP will be your point of contact, and
the contact information (including telephone number) you provide to facilitate the return of
your property within a reasonable time upon completion of the examination

The CBP officer who approved lhe‘detcntion will speak with you and explain the process,
and provide his or her name and contact telephone number if you have any concerns Some
airport locations have dedicated Passenger Servicc Managers who are available in addition
to the onsite supervisor to address any concerns

Return'or Seizure of Detained E|ectronic Device(s)

(,`BP will contact you by telephone when the examination of` the electronic deviee(s) is
complete, to notify you that yo\ may pick-up the item(s) during regular business hours
t`rom the location where the item(s) was detained if it is impractical for you to pick up the

devi_ce.

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Please visit the U.S. Customs and Border Protection
Website at Www.cbp.gov

 

 

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(Return or Seizure of Delained Eleclronic Device(s) continue)

CBP can make arrangements to ship the device to you at our expense CBP may retain
documents or information relating to immigration eustoms, and other enforcement matters
only if` such retention is consistent with the privacy and data protection standards of`the
system in which such information is retained Otherwisc, if after reviewing the inforrnation,
there exists no probable cause to seize it, CBP will not retain any copies.

lf`CBP determines that the device is subject to seizure under law - f`or example, if the device
contains cvidencc_ot`a crimc, contraband or other prohibited or restricted items or informa-
tion ~ then you will be notified of the seizure as well as your options to contest it through the
local CBP Fines, Penalties, and I*`orl`eitures Ofiiee.

Privacy and Civil Liberties Protection

In conducting border searches, CBP officers strictly adhere to all constitutional and statutory
requirements including those that are applicable to privileged, personal, or business confi-
dential information li`or example, the 'l`rade Secrets Act tlS U.S.C. § 1905) prohibits federal
employees from diselosing, without lawful authority, business confidential information to
which they obtain access as part of` their official duties. Morcover. CBI’ has strict oversight
policies and procedures that implement these constitutional and statutory safeguards Further
information on DllS and CBP privacy policy can bc found at www.dhs.gov/privacy

'l`he DHS Of`tice for Civil Rights and Civil liberties investigates complaints alleging a
violation by DHS employees ot`an individual’s civil rights or civil liberties Additional
information about the ()t`fice is available at www.dhsgov/'civz'l/iberties.

Additional information on CBP`€ search authority. including a copy ot` CBP’s policy on the
border search of`inf`ormation, car found at: www.cbp.gov/xp/cgov/lrrrve’/'rzcl)vrissihi/itt'//.

Privacy Act Staternent

Prirsuanr to 5 U.S.C. § 552a (e)t3), this Pn`vacy r\ct Sfatemeiit serves to inf`omi you of’tlre following concerning the
possible collection ot`inf`ormation from your electronic device

A\lTli()RlTY and PURP()SF,: Sce abr)ve, Authority to Search.

ROUT|NE llSF.S: Tlic subject information may be made available to other agencies t`or investigation and/or for
obtaining assistance relating to jurisdictional or subject matter expertisev or for translation deciyption. or other techni~
cal assistance This information may also be made available to assist in border security and intelligence activitics,
domestic law enforcement and the enforcement of other crimes of` a trausnational nature, and shared with elements of`
the federal government responsible i`or analyzing terrorist threat information

CONSEQUENCES ()F FAILURE TO PROVII)E INF()RMATION: Collection of` this information is mandatory at
the time that CBP cr'lC`E seeks to copy information from the electronic device Failure to provide information to assist
CBP or lL`l§El in the copying ofinformation front the electronic device may result in its detention and/or seizure

CBP lNFO Center Contacts

CBP |NFO Center - This office responds to general or specific questions or concerns about
CB‘F_P examinations You may contact us in any one of three Wa_ys:

Te|ephone ~ During the hours of 8:30 a.m. to 5 p.rn. Eastern time:
(877) 227»5511 (toll~free call for U.Sv callers)
(703> 526- zoo tinternauonai catters)
(866) 880'6582 (TDD)

Online through the "Questions" tab at:
http://u/tt/tv. cbp. gov

Mail address format
CBP |NFO Center (Rosslyn` VA)
1300 Pennsylvania Avenue NVV Washington. D.C. 20229

CBP Pub|ication 0204-0709

 

